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12
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     similarly situated
14                      THE UNITED STATES DISTRICT COURT
15                      NORTHERN DISTRICT OF CALIFORNIA
                               SAN FRANCISCO DIVISION
16
     JOVETTE BRYANT and NECOLE ) Case No.:
                                            )
17   FRANKLIN, individually and on          )
     behalf of all others similarly         ) CLASS ACTION
18                                          )
     situated,
                                            ) PLAINTIFF’S COMPLAINT FOR
19                                          )
            Plaintiffs,                     ) DAMAGES AND INJUNCTIVE
20                                          ) RELIEF
                                            )
21          vs.                             ) (1) Violations of the Telephone
                                            )
22                                                Consumer Protection Act, 47
     CLEAN ENERGY EXPERTS, LLC )
                                            )     U.S.C. § 227, et seq. (Do Not
23   dba SOLAR RESEARCH GROUP, )
                                                  Call); and
     a California Limited Liability         )
24                                          ) (2) Violations of the Telephone
     Company; and DOE
                                            )     Consumer Protection Act, 47
25   INDIVIDUALS, inclusive, and each )
                                                  C.F.R. § 64.1200(d) (Internal Do
     of them,                               )
26                                          )     Not Call).
                                            ) DEMAND FOR JURY TRIAL
27          Defendants.
28
          CLASS ACTION COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
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 1         Plaintiffs Jovetter Bryant and Necole Franklin (“Plaintiffs”), on behalf of
 2   themselves and all others similar situated, alleges the following upon information
 3   and belief based upon personal knowledge:
 4                               NATURE OF THE CASE
 5         1.     Plaintiffs, on behalf of themselves and others similarly situated, are
 6   seeking damages and any other available legal or equitable remedies resulting
 7   from the illegal actions of defendant CLEAN ENERGY EXPERTS, LLC dba
 8   SOLAR RESEARCH GROUP and INDIVIDUAL DOES (collectively
 9   “Defendants”) in contacting Plaintiffs as well as knowingly, and/or willfully
10   contacting Plaintiffs on Plaintiffs’ cellular telephone in violation of the
11   Telephone Consumer Protection Act, 47 U.S.C. § 227, set seq. (“TCPA”).
12         2.     Defendant CLEAN ENERGY EXPERTS, LLC dba SOLAR
13   RESEARCH GROUP is an entity that generates leads for the solar energy
14   industry via telemarketing and employed/employs call centers, to place telephone
15   calls, en masse, to consumers across the country. On information and belief,
16   Defendants and or its agents purchase phone number databases of consumers’
17   contact information and create an electronic database from which Defendants
18   makes automated calls.
19         3.      Defendants conducted (and continue to conduct) wide scale
20   telemarketing campaigns and repeatedly made unsolicited calls to consumers’
21   telephones—whose numbers appear on the National Do Not Call Registry—
22   without consent, all in violation of the TCPA.
23         4.     Defendants continued the calls, even after Plaintiff explicitly told
24   them to stop and revoked any purported assent to receive the illegal calls.
25         5.     By making the telephone calls at issue in this Complaint, Defendant
26   caused Plaintiffs and the members of a putative Class of consumers (defined
27   below) actual harm, including the aggravation, nuisance, and invasion of privacy
28   that necessarily accompanies the receipt of unsolicited and harassing telephone
           CLASS ACTION COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
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 1   calls, as well as the monies paid to their carriers for the receipt of such telephone
 2   calls.
 3            6.   Plaintiffs brings this class action against Defendants to secure
 4   redress because Defendants willfully violated the TELEPHONE CONSUMER
 5   PROTECTION ACT (“TCPA”), 47 U.S.C § 227, et seq. by causing unsolicited calls
 6   to be made to Plaintiffs’ and other class members’ telephones through the use of
 7   an auto-dialer and/or artificial or pre-recorded voice message.
 8            7.   Defendants conducted (and continue to conduct) wide scale
 9   telemarketing campaigns and repeatedly made/make unsolicited calls to
10   consumers’ telephones—whose numbers appear on the National Do Not Call
11   Registry—without consent, all in violation of the Telephone Consumer
12   Protection Act, 47 U.S.C. § 227 (the “TCPA”), including to Plaintiffs and other
13   class members, whose phone numbers were registered with the Do Not Call
14   Registry, at least twice in a 12 month period.
15            8.   By making the telephone calls at issue in this Complaint,
16   Defendants caused Plaintiffs and the members of the putative Classes of
17   consumers (defined below) actual harm, including the aggravation, nuisance, and
18   invasion of privacy that necessarily accompanies the receipt of unsolicited and
19   harassing telephone calls, as well as the monies paid to their carriers for the
20   receipt of such telephone calls.
21            9.   Congress enacted the TCPA to protect consumers from unsolicited
22   telephone calls exactly like those alleged in this case. In response to Defendants’
23   unlawful conduct, Plaintiffs file the instant lawsuit and seeks an injunction
24   requiring Defendant to cease all illegal telephone calling activities to her cellular
25   telephone, and other individuals cellular phones and an award of statutory
26   damages under the TCPA equal to $500.00 per violation, together with court
27   costs, reasonable attorneys’ fees (including under Cal. Code Civ. Proc. §
28
              CLASS ACTION COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
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 1   1021.5), and treble damages (for knowing and/or willful violations). Plaintiff
 2   also seeks an award of court costs and reasonable attorney’s fees.
 3                                       PARTIES
 4         10.    Plaintiff JOVETTE BRYANT (“Plaintiff” or “Bryant”) is a citizen
 5   of the State of Maryland.
 6         11.    Plaintiff NECOLE FRANKLIN (“Plaintiff” or “Franklin”) is a
 7   citizen of the State of New York.
 8         12.    Defendant CLEAN ENERGY EXPERTS, LLC d/b/a SOLAR
 9   RESEARCH GROUP is a limited liability company organized under the laws of
10   the State of California. Defendant maintains its principal office on 585 Market
11   Street, 29th Floor, San Francisco, California 94105. Defendant may be served
12   with process by serving its registered agent, CT Corporation System, 818 W. 7th
13   Street, Suite 930, Los Angeles, CA 90017.
14         13.    The true names and capacities of the Defendants sued herein as
15   DOE INDIVIDUALS, inclusive, are currently unknown to Plaintiffs, who
16   therefore sues such Defendants by fictitious names. Each of the Defendants
17   designated herein as a DOE is legally responsible for the unlawful acts alleged
18   herein. Plaintiffs will seek leave of Court to amend the Complaint to reflect the
19   true names and capacities of the DOE Defendants when such identities become
20   known.
21         14.    Plaintiffs does not yet know the identity of Defendants’
22   employees/agents, identified as DOE INDIVIDUALS that had direct, personal
23   participation in or personally authorized the conduct found to have violated the
24   statute, and were not merely tangentially involved. They are named tentatively as
25   numerous District Courts have found that individual officers/principals of
26   corporate entities may be personally liable (jointly and severally) under the
27   TCPA if they had direct, personal participation in or personally authorized the
28   conduct found to have violated the statute, and were not merely tangentially
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 1   involved. Texas v. American Blastfax, Inc., 164 F.Supp.2d 892, 899 (W.D. Tex.
 2   2001); Sandusky Wellness Center, LLC v. Wagner Wellness, Inc., No. 3:12 CV
 3   2257, 2014 WL 1333472, at *3 (N.D. Ohio March 28, 2014); Maryland v.
 4   Universal Elections, 787 F.Supp.2d 408, 415–416 (D.Md. 2011); Baltimore-
 5   Washington Tel Co. v. Hot Leads Co., 584 F.Supp.2d 736, 745 (D.Md. 2008);
 6   Covington & Burling v. Int’l Mktg. & Research, Inc., No. CIV.A. XX-XXXXXXX,
 7   2003 WL 21384825, at *6 (D.C. Super Apr. 17, 2003); Chapman v. Wagener
 8   Equities, Inc., No. 09 C 07299, 2014 WL 540250, at *16–17 (N.D. Ill. Feb. 11,
 9   2014); Versteeg v. Bennett, Deloney & Noyes, P.C., 775 F.Supp.2d 1316, 1321
10   (D.Wy.2011). Upon learning of the identities of said individuals, Plaintiff will
11   move to amend to name the individuals as defendants.
12            15.   Plaintiffs are informed and believe and thereon allege that at all
13   relevant times, each and every Defendant was acting as an agent and/or
14   employee of each of the other Defendants and was the owner, agent, servant,
15   joint venturer and employee, each of the other and each was acting within the
16   course and scope of its ownership, agency, service, joint venture and
17   employment with the full knowledge and consent of each of the other
18   Defendants. Plaintiffs are informed and believe and thereon allege that each of
19   the acts and/or omissions complained of herein was made known to, and ratified
20   by, each of the other Defendants.
21            16.   At all times mentioned herein, each and every Defendant was the
22   successor of the other and each assumes the responsibility for each other’s acts
23   and omissions.
24   ///
25   ///
26   ///
27   ///
28   ///
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 1         JURISDICTION, VENUE & INTRADISTRICT ASSIGNMENT
 2         17.       Jurisdiction is proper under 28 U.S.C. § 1332(d)(2) because the
 3   Defendants maintains its principal place of business in California. Furthermore,
 4   Plaintiffs seek relief on behalf of a Class, which will result in at least one class
 5   member belonging to a different state than that of the Defendant, which is based
 6   in California.
 7         18.       Plaintiffs also seek up to $1,500.00 in damages for each call in
 8   violation of the TCPA, which, when aggregated among a proposed class in the
 9   thousands, exceeds the $5,000,000.00 threshold for federal court jurisdiction.
10   Therefore, both diversity jurisdiction and the damages threshold under the Class
11   Action Fairness Act of 2005 (“CAFA”) are present, and this Court has
12   jurisdiction.
13         19.        This Court has subject matter jurisdiction under 28 U.S.C. § 1331,
14   as this action arises under the TCPA, which is a federal statute.
15         20.       The Court has personal jurisdiction over Defendant because it
16   conduct significant business in this District, and the unlawful conduct alleged in
17   this Complaint occurred in, was directed to, and/or emanated from this District.
18         21.       Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)
19   because the wrongful conduct giving rise to this case occurred in, was directed
20   to, and/or emanated from this District. Defendants were targeting individuals in
21   this district. The calls were made with the intent to sell credit repair products and
22   services.
23         22.        Defendant is subject to specific personal jurisdiction in this District
24   because it has continuous and systematic contacts with this District through their
25   marketing efforts and services that target this District, and the exercise of
26   personal jurisdiction over Defendant in this District does not offend traditional
27   notions of fair play or substantial justice. The Court has personal jurisdiction
28   over Defendants because they conduct significant business in this District, and
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 1   the unlawful conduct alleged in this Complaint occurred in, was directed to,
 2   and/or emanated from this District.
 3          23.    Since the acts or omissions which give rise to Plaintiff’s claims
 4   occurred in the City and County of San Francisco, Pursuant to Local Rule 3.2(c),
 5   this action must be assigned to the San Francisco division of the Northern
 6   District Court.
 7                  TELEPHONE CONSUMER PROTECTION ACT
 8          24.    Congress enacted the TCPA in 1991 to address certain practices
 9   thought to be an invasion of consumer privacy and a risk to public safety. The
10   TCPA and the Federal Communications Commission’s (“FCC”) implemented
11   rules prohibit: (1) making telemarketing calls using an artificial or prerecorded
12   voice to residential telephones without prior express consent; and (2) making any
13   non-emergency call using an automatic telephone dialing system (hereinafter
14   “ATDS”) or an artificial or prerecorded voice to a wireless telephone number
15   without prior express consent. If the call includes or introduces an advertisement,
16   or constitutes telemarketing, consent must be in writing. 1 The TCPA grants
17   consumers a private right of action, with a provision for $500 or the actual
18   monetary loss in damages for each violation, whichever is greater, and treble
19   damages for each willful or knowing violation, as well as injunctive relief.
20          25.    In 2008, the FCC held that “a creditor on whose behalf an
21   autodialed or prerecorded message call is made to a wireless number bears the
22   responsibility for any violation of the Commission’s rules.” In re Rules and
23
24   1
         Prior express written consent means “an agreement, in writing, bearing the
25       signature of the person called that clearly authorizes the seller to deliver or
         cause to be delivered to the person called advertisements or telemarketing
26
         messages using an automatic telephone dialing system or an artificial or
27       prerecorded voice, and the telephone number to which the signatory
         authorizes such advertisements or telemarketing messages to be delivered.
28
         47 C.F.R. § 64.1200(f)(8).
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 1   Regulations Implementing the Telephone Consumer Protection Act, Declaratory
 2   Ruling on Motion by ACA International for Reconsideration, 23 FCC Rcd. 559,
 3   565, ¶ 10 (Jan. 4, 2008); Birchmeier v. Caribbean Cruise Line, Inc., No. 12 C
 4   4069, 2012 WL 7062748 (N.D. Ill. Dec. 31, 2012).
 5            26.   The TCPA restricts telephone solicitations (i.e., telemarketing) and
 6   the use of automated telephone equipment. The TCPA limits the use of automatic
 7   dialing systems, artificial or prerecorded voice messages, SMS text messages,
 8   and fax machines. It also specifies several technical requirements for fax
 9   machines, autodialers, and voice messaging systems—principally with
10   provisions requiring identification and contact information of the entity using the
11   device to be contained in the message.
12            27.   In its initial implementation of the TCPA rules, the FCC included an
13   exemption to its consent requirement for prerecorded telemarketing calls. Where
14   the caller could demonstrate an “established business relationship” with a
15   customer, the TCPA permitted the caller to place pre-recorded telemarketing
16   calls to residential lines. The new amendments to the TCPA, effective October
17   16, 2013, eliminate this established business relationship exemption. Therefore,
18   all pre-recorded telemarketing calls to residential lines and wireless numbers
19   violate the TCPA if the calling party does not first obtain express written consent
20   from the called party.
21   ///
22   ///
23   ///
24   ///
25   ///
26   ///
27   ///
28   ///
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 1         28.   As of October 16, 2013, unless the recipient has given prior express
 2   written consent, the TCPA and Federal Communications Commission (FCC)
 3   rules under the TCPA generally:
 4
                 ●   Prohibits solicitors from calling residences before 8 a.m.
 5
                     or after 9 p.m., local time.
 6
                 ●   Requires solicitors provide their name, the name of the
 7
                     person or entity on whose behalf the call is being made,
 8                   and a telephone number or address at which that person or
 9                   entity may be contacted.

10               ●   Prohibits solicitations to residences that use an artificial
11                   voice or a recording.

12               ●   Prohibits any call or text made using automated telephone
13                   equipment or an artificial or prerecorded voice to a
                     wireless device or telephone.
14
                 ●   Prohibits any call made using automated telephone
15
                     equipment or an artificial or prerecorded voice to an
16                   emergency line (e.g., “911”), a hospital emergency
17                   number, a physician’s office, a hospital/health care
                     facility/elderly room, a telephone, or any service for which
18                   the recipient is charged for the call.
19
                 ●   Prohibits autodialed calls that engage two or more lines of
20                   a multi-line business.
21
                 ●   Prohibits unsolicited advertising faxes.
22
23               ●   Prohibits certain calls to members of the Do-Not-Call
                     Registry
24
25         29.   Furthermore, in 2008, the FCC held that “a creditor on whose behalf

26   an autodialed or prerecorded message call is made to a wireless number bears the

27   responsibility for any violation of the Commission’s rules.” In re Rules and

28   Regulations Implementing the Telephone Consumer Protection Act, Declaratory

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 1   Ruling on Motion by ACA International for Reconsideration, 23 FCC Rcd. 559,
 2   565, ¶ 10 (Jan. 4, 2008); Birchmeier, 2012 WL 7062748.
 3          30.     Accordingly, the entity can be liable under the TCPA for a call
 4   made on its behalf, even if the entity did not directly place the call. Under those
 5   circumstances, the entity is deemed to have initiated the call through the person
 6   or entity.
 7                  A.    DO NOT CALL VIOLATIONS OF THE TCPA
 8          31.     There are just a handful of elements need to be proven for violations
 9   of the Do Not Call provision of the TCPA.
10          32.     More Than One Call within Any 12 Month Period. 47 U.S.C. §
11   227(c) provides that any “person who has received more than one telephone call
12   within any 12-month period by or on behalf of the same entity in violation of the
13   regulations prescribed under this subsection may” bring a private action based on
14   a violation of said regulations, which were promulgated to protect telephone
15   subscribers’ privacy rights to avoid receiving telephone solicitations to which
16   they object.
17          33.     Calls to Phones on the Do Not Call List. The TCPA’s implementing
18   regulation—47 C.F.R. § 64.1200(c)—provides that “[n]o person or entity shall
19   initiate any telephone solicitation” to “[a] residential telephone subscriber who
20   has registered his or her telephone number on the national do-not-call registry of
21   persons who do not wish to receive telephone solicitations that is maintained by
22   the federal government.” See 47 C.F.R. § 64.1200(c).
23          34.     Including Wireless Lines on the Do Not Call List. Owners of
24   wireless telephone numbers (aka mobile or cellular phones) receive the same
25   protections from the Do Not Call provision as owners or subscribers of wireline
26   (“landline”) phone numbers. 47 C.F.R. § 64.1200(e), provides that 47 C.F.R. §§
27   64.1200(c) and (d) “are applicable to any person or entity making telephone
28   solicitations or telemarketing calls to wireless telephone numbers to the extent
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 1   described in the Commission’s Report and Order, CG Docket No. 02-278, FCC
 2   03-153, ‘Rules and Regulations Implementing the Telephone Consumer
 3   Protection Act of 1991,’” which the Report and Order, in turn, provides as
 4   follows:
 5
 6            The Commission’s rules provide that companies making telephone
              solicitations to residential telephone subscribers must comply with
 7            time of day restrictions and must institute procedures for
 8            maintaining do-not-call lists. For the reasons described above, we
              conclude that these rules apply to calls made to wireless telephone
 9            numbers. We believe that wireless subscribers should be afforded
10            the same protections as wireline subscribers.

11            35.   The Affirmative Defense of Prior Express Consent. The Ninth
12   Circuit has defined “express consent” to mean “clearly and unmistakably stated.”
13   Satterfield v. Simon & Schuster, Inc., 569 F.3d 946, 955 (9th Cir. 2009). “Prior
14   express consent is an affirmative defense for which the defendant bears the burden
15   of proof.” See Grant v. Capital Management Services, L.P., No. 11-56200, 2011
16   WL 3874877, at *1, n.1. (9th Cir. Sept. 2, 2011) (“express consent is not an
17   element of a TCPA plaintiff’s prima facie case, but rather is an affirmative defense
18   for which the defendant bears the burden of proof”); see also Robbins v. Coca-
19   Cola Company, No. 13-cv-132, 2013 WL 2252646, at *2 (S.D. Cal. May 22,
20   2013).
21                              FACTUAL ALLEGATIONS
22            36.   Defendant is a company that sells marketing leads to solar
23   companies. During or before 2016, in an effort to solicit potential customers,
24   Defendant began making telephone calls, en masse, to consumers across the
25   country.
26            37.   Defendants knowingly made these telemarketing calls without the
27   prior express written consent of the call recipients, and knowingly continue to
28   call them after requests to stop. As such, Defendants not only invaded the
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 1   personal privacy of Plaintiffs and members of the putative Class, but also
 2   intentionally and repeatedly violated the TCPA.
 3         38.     Plaintiffs have reason to believe Defendant called thousands of
 4   telephone customers listed on the Do Not Call Registry to market their products
 5   and services.
 6         39.     Plaintiffs’ overriding interest is ensuring Defendant cease all illegal
 7   telemarketing practices and compensates all members of the Plaintiff Class for
 8   invading their privacy in the manner the TCPA was contemplated to prevent.
 9         40.     In order to redress injuries caused by Defendant’s violations of the
10   TCPA, Plaintiffs, on behalf of themselves and a class of similarly situated
11   individuals, bring suit under the TCPA, 47 U.S.C. § 227, et seq., which prohibits
12   certain unsolicited calls voice and text to individuals whose numbers are
13   registered on the Do Not Call Registry.
14         41.     On behalf of the Plaintiff Class, Plaintiffs seeks an injunction
15   requiring Defendant to cease all illegal telemarketing and spam activities and an
16   award of statutory damages to the class numbers, together with costs and
17   reasonable attorneys’ fees.
18               FACTS SPECIFIC TO PLAINTIFF JOVETTE BRYANT
19         42.     On or about September 14, 2007, Plaintiff Bryant registered her
20   cellular phone number with the area code (240) and ending in 3924 with the
21   National Do Not Call Registry.
22         43.     Plaintiff Bryant is the regular carrier and exclusive user of the
23   telephone assigned the number ending in 3294. The number is assigned to a
24   cellular telephone service for which Plaintiff Bryant is charged for incoming
25   calls pursuant to 47 U.S.C. § 227(b)(1).
26         44.     In the summer of 2016, Plaintiff Bryant began receiving calls on her
27   cellular telephone from the number (716) 730-5152, claiming to be Defendant
28   Solar Research Group.
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 1         45.    Plaintiff Bryant never purchased or inquired about Defendant’s
 2   products. Yet, she received at least multiple calls from Defendant.
 3         46.    Plaintiff Bryant never provided Defendant with prior consent to
 4   contact her on her phone via a text message or telephone call.
 5         47.    Defendant called Plaintiff Bryant at least three times on her phone
 6   during a twelve-month period, often daily.
 7         48.    Plaintiff Bryant told Defendant, “I don’t know how you got my
 8   number, but stop calling.” Yet, the calls continued.
 9         49.    Like Plaintiff Franklin, Plaintiff Bryant lives in an apartment
10   building and could not even purchase solar panels for her home if she wanted to,
11   so she never would have inquired about such products.
12         50.    Defendant’s calls constituted calls that were not for emergency
13   purposes as defined by 47 U.S.C. § 227(b)(1(A)(i).
14         51.    Defendant’s unsolicited telemarketing calls caused Plaintiff Bryant
15   extreme aggravation and occupied her telephone line.
16           FACTS SPECIFIC TO PLAINTIFF NECOLE FRANKLIN
17         52.    On or about May 4, 2013, Plaintiff Franklin registered her cellular
18   phone number with the area code (347) and ending in 1159 with the National Do
19   Not Call Registry.
20         53.    Plaintiff Franklin is the regular carrier and exclusive user of the
21   telephone assigned the number ending in 1159. The number is assigned to a
22   cellular telephone service for which Plaintiff Franklin is charged for incoming
23   calls pursuant to 47 U.S.C. § 227(b)(1).
24         54.    In the summer of 2016, Plaintiff Franklin began receiving calls on
25   her cellular telephone from the number (716) 730-5152, claiming to be
26   Defendant Solar Research Group.
27         55.    Plaintiff Franklin never had a business relationship with Defendant.
28   Yet, she received at least multiple calls from Defendant.
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 1         56.    Plaintiff Franklin never provided Defendant with prior consent to
 2   contact her on her phone via a text message or telephone call.
 3         57.    Nonetheless, Defendant called Plaintiff Franklin dozens of times on
 4   her phone during a twelve-month period, often daily.
 5         58.    Plaintiff Franklin told Defendant, “I’m not interested. Please stop
 6   calling.” Yet, the calls continued.
 7         59.    Plaintiff Franklin lives in an apartment building and could not even
 8   purchase solar panels for her home if she wanted to, so she never would have
 9   inquired about such products.
10         60.    Defendant’s calls constituted calls that were not for emergency
11   purposes as defined by 47 U.S.C. § 227(b)(1(A)(i).
12         61.    Defendant’s unsolicited telemarketing calls caused Plaintiff Franklin
13   extreme aggravation and occupied her telephone line.
14         62.    Defendant’s calls constituted calls that were not for emergency
15   purposes as defined by 47 U.S.C. § 227(b)(1(A)(i).
16         63.    Defendant’s unsolicited telemarketing calls caused Plaintiff
17   Carranza extreme aggravation and occupied her telephone line.
18         64.    Plaintiff Franklin has reason to believe Defendant called thousands
19   of telephone customers listed on the Do Not Call Registry to market their
20   products and services.
21         65.    Plaintiff’s overriding interest is ensuring Defendant cease all illegal
22   telemarketing practices and compensates all members of the Plaintiff Class for
23   invading their privacy in the manner the TCPA was contemplated to prevent.
24         66.    In order to redress injuries caused by Defendant’s violations of the
25   TCPA, Plaintiff, on behalf of herself and a class of similarly situated individuals,
26   bring suit under the TCPA, 47 U.S.C. § 227, et seq., which prohibits certain
27   unsolicited calls voice and text to individuals whose numbers are registered on
28   the Do Not Call Registry.
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 1         67.    On behalf of the Plaintiff Class, Plaintiff seeks an injunction
 2   requiring Defendant to cease all illegal telemarketing and spam activities and an
 3   award of statutory damages to the class numbers, together with costs and
 4   reasonable attorneys’ fees.
 5                                       STANDING
 6         68.    Plaintiffs have standing to bring this suit on behalf of themselves
 7   and the members of the class under Article III of the United States Constitution
 8   because Plaintiffs’ claims state: (a) a valid injury in fact; (b) an injury which is
 9   traceable to the conduct of Defendants; and (c) is likely to be redressed by a
10   favorable judicial decision. See Spokeo v. Robins, 136 S. Ct. 1540, 1547 (2016);
11   Robins v. Spokeo, 867 F.3d 1108 (9th Cir. 2017) (cert denied. 2018 WL 491554
12   (Jan. 22 2018); Lujan v. Defenders of Wildlife, 504 U.S. 555, 560 (1992); and
13   Chen v. Allstate Inc. Co., 819 F.3d 1136 (9th Cir. 2016).
14   A.    INJURY IN FACT
15         69.    A Plaintiff’s injury must be both “concrete” and “particularized” in
16   order to satisfy the requirements of Article III of the Constitution. Id.
17         70.    For an injury to be concrete it must be a de facto injury, meaning it
18   actually exists. In the present case, Plaintiffs took the affirmative step of
19   enrolling herself on the National Do-Not-Call Registry for the purpose of
20   preventing marketing calls to their telephones. Such telemarketing calls are a
21   nuisance, an invasion of privacy, and an expense to Plaintiff. See Soppet v.
22   enhanced Recovery Co., LLC, 679 F.3d 637, 638 (7th Cir. 2012). All three of
23   these injuries are present in this case. See also Chen, supra.
24         71.    Furthermore, the Third Circuit recently stated, Congress found that
25   “[u]nsolicited telemarketing phone calls or text messages, by their nature, invade
26   the privacy and disturb the solitude of their recipients,” Van Patten, 847 F.3d at
27   1043, and sought to protect the same interests implicated in the traditional
28   common law cause of action. Put differently, Congress was not inventing a new
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 1   theory of injury when it enacted the TCPA. Rather, it elevated a harm that, while
 2   “previously inadequate in law,” was of the same character of previously existing
 3   “legally cognizable injuries.” Spokeo, 136 S.Ct. at 1549. Spokeo addressed, and
 4   approved, such a choice by Congress. Susinno v. Work Out World Inc., No. 16-
 5   3277, 2017 WL 2925432, at *4 (3d Cir. July 10, 2017).
 6          72.    For an injury to be particularized means that the injury must affect
 7   the plaintiff in a personal and individual way. See Spokeo, 136 S.Ct. at 1548. In
 8   the instant case, Defendants placed calls to Plaintiffs’ phones. It was Plaintiffs
 9   ’personal privacy and peace that Defendants invaded by placing the calls to their
10   phones. Furthermore, Plaintiffs are the person who pays for the phone, and is the
11   regular carrier and user of the phone. All of these injuries are particular to
12   Plaintiffs.
13   B.     TRACEABLE TO THE CONDUCT OF EACH SEPARATE DEFENDANT
14          73.    Plaintiffs must allege at the pleading stage of the case facts to show
15   that their injury is traceable to the conduct of Defendants. In this case, Plaintiffs
16   satisfy this requirement by alleging that Defendants, and/or agent of Defendants
17   on behalf of Defendants, placed illegal calls to Plaintiffs’ phones.
18   C.     INJURY LIKELY TO BE REDRESSED BY A FAVORABLE JUDICIAL OPINION
19          74.    The third prong to establish standing at the pleadings phase requires
20   Plaintiffs to allege facts to show that the injury is likely to be redressed by a
21   favorable judicial opinion. In the present case, Plaintiffs’ Prayers for Relief
22   include a request for damages for each call made by Defendants, as authorized by
23   statute in 47 U.S.C. § 227. The statutory damages were set by Congress and
24   specifically redress the financial damages suffered by Plaintiffs and the members
25   of the putative class. Furthermore, Plaintiffs’ Prayers for Relief request
26   injunctive relief to restrain Defendant from the alleged abusive practices in the
27   future. The award of monetary damages and the order for injunctive relief redress
28   the injuries of the past, and prevent further injury in the future.
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 1         75.      Because all standing requirements of Article III of the U.S.
 2   Constitution have been met, as laid out in Spokeo, and in the context of a TCPA
 3   claim, as explained by the Ninth Circuit in Chen v. Allstate Inc. Co., 819 F.3d
 4   1136 (9th Cir. 2016), Plaintiffs have standing to sue Defendant on the stated
 5   claims. Plaintiffs have standing to sue Defendants on the stated claims.
 6                                CLASS ALLEGATIONS
 7         76.      Plaintiffs bring this action pursuant to Rule 23 of the Federal Rules
 8   of Civil Procedure and/or other applicable law, on behalf of themselves and all
 9   others similarly situated, as a member of a proposed class (hereafter “the DNC
10   Class” and the “Internal DNC Class”).
11         77.      The DNC Class is defined as follows:
12         All persons within the United States who: (1) received more than one
13         telephone call made by or on behalf of Defendant(s) within a 12-month
14         period, in the four years preceding the initial Complaint to trial; and (2) to
15         a telephone number that had been registered with the National Do Not Call
16         Registry for at least 30 days.
17         78.      The Internal DNC Class is defined as follows:
18         All persons in the United States to whom: (a) received more than one
19         telephone call made by or on behalf of Defendant(s); (b) promoting
20         Defendants’ goods or services; (c) more than 30 days after requesting not
21         to receive further calls; (d) in a 12-month period; (e) on their cellular
22         telephone line or residential telephone line; and (f) at any time in the
23         period that begins four years before the date of filing this Complaint to
24         trial.
25         79.      Numerosity: The proposed Classes are so numerous that individual
26   joinder of all members is impracticable. Due to the nature of the trade and
27   commerce involved, Plaintiffs do not know the number of members in the
28   Classes, but believes the Class members number in the thousands, if not more.
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 1   Plaintiffs allege that the Class may be ascertained by the records maintained by
 2   Defendants.
 3         80.     Plaintiffs and members of the Classes were harmed by the acts of
 4   Defendant(s) in at least the following ways: Defendants illegally contacted
 5   Plaintiffs and Class members via their telephones thereby causing Plaintiff and
 6   Class members, without their “prior express consent,” to incur certain charges or
 7   reduced telephone time for which Plaintiffs and Class members had previously
 8   paid by having to retrieve or administer message(s) left by Defendant during
 9   those illegal calls, and invading the privacy of said Plaintiffs and Class members.
10         81.     Common Questions of Law and Fact Predominate: There are
11   only a few legal and factual issues to determine if there is liability under the
12   TCPA and for each of those questions of law and fact, common issues to the
13   Class predominate over any questions that may affect individual Class members,
14   in that the claims of all Class members for each of the claims herein can be
15   established with common proof. Common questions of fact and law include, but
16   are not limited to, the following:
17         (a)     Whether, within the four years prior to the filing of this Complaint,
18                 Defendant(s) made any calls (other than a call made for emergency
19                 purposes or made with the prior express consent of the called party)
20                 to a Class member using any automated dialing system or an
21                 artificial or prerecorded voice to any telephone number assigned to a
22                 cellular telephone service;
23         (b)     Whether, within the four years prior to the filing of this Complaint,
24                 Defendant(s) made any calls (other than a call made for emergency
25                 purposes or made with the prior express consent of the called party)
26                 to a Class member using any automated dialing system or an
27                 artificial or prerecorded voice to any telephone number assigned to a
28                 cellular telephone service;
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 1         (c)    Whether Defendants systematically made telephone calls to
 2                consumers whose telephone numbers were registered with the
 3                National do Not Call Registry;
 4         (d)    Whether Defendants failed to comply with the internal DNC
 5                mandates of 47 C.F.R. §§ 64.1200(d).
 6         (e)    Whether members of the Class are entitled to treble damages based
 7                on the willfulness of Defendants’ conduct;
 8         (f)    Whether Plaintiffs and the Class members were damaged thereby,
 9                and the extent of the statutory damages for each such violation; and
10         (g)    Whether the Defendant(s) should be enjoined from engaging in such
11                conduct in the future.
12         82.    Typicality: Plaintiffs’ claims are typical of the claims of members
13   of the Classes, as Plaintiffs were subject to the same common course of conduct
14   by Defendants as all Class members. The injuries to each member of the Class
15   were caused directly by Defendant(s)’ wrongful conduct as alleged herein.
16         83.    Adequacy of Representation: Plaintiffs will fairly and adequately
17   represent and protect the interests of the Class. Plaintiffs have retained counsel
18   with substantial experience in handling complex class action litigation. Plaintiffs
19   and their counsel are committed to prosecuting this action vigorously on behalf
20   of the Class and have financial resources to do so.
21         84.    Superiority of Class Action: A class action is superior to other
22   available methods for the fair and efficient adjudication of the present
23   controversy. Class members have little interest in individually controlling the
24   prosecution of separate actions because the individual damage claims of each
25   Class member are not substantial enough to warrant individual filings. In sum,
26   for many, if not most, Class members, a class action is the only feasible
27   mechanism that will allow them an opportunity for legal redress and justice.
28   Plaintiffs are unaware of any litigation concerning the present controversy
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 1   already commenced by members of the Class. The conduct of this action as a
 2   class action in this forum, with respect to some or all of the issues presented
 3   herein, presents fewer management difficulties, conserves the resources of the
 4   parties and of the court system, and protects the rights of each Class member.
 5          85.    Moreover, individualized litigation would also present the potential
 6   for varying, inconsistent, or incompatible standards of conduct for Defendants,
 7   and would magnify the delay and expense to all parties and to the court system
 8   resulting from multiple trials of the same factual issues. The adjudication of
 9   individual Class members’ claims would also, as a practical matter, be
10   dispositive of the interests of other members not parties to the adjudication, and
11   could substantially impair or impede the ability of other Class members to
12   protect their interests.
13          86.    Plaintiffs and the members of the Classes have suffered and will
14   continue to suffer harm as a result of Defendant(s)’ unlawful and wrongful
15   conduct. Defendant(s) have acted, or refused to act, in respects generally
16   applicable to the Class, thereby making appropriate final and injunctive relief
17   with regard to the members of the Class as a whole.
18                              FIRST CAUSE OF ACTION
19   DNC CLAIM IN VIOLATION OF THE TELEPHONE CONSUMER PROTECTION ACT,
20                    47 U.S.C. § 227, ET SEQ. (64 C.F.R. § 64.1200(C))
21                         (By Plaintiffs Against All Defendants)
22          87.    Plaintiffs hereby incorporate by reference and re-allege each and
23   every allegation set forth in each and every preceding paragraph of this
24   Complaint, as though fully set forth herein.
25          88.    47 U.S.C. § 227(c) provides that any “person who has received
26   more than one telephone call within any 12-month period by or on behalf of the
27   same entity in violation of the regulations prescribed under this subsection may”
28   bring a private action based on a violation of said regulations, which were
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 1   promulgated to protect telephone subscribers’ privacy rights to avoid receiving
 2   telephone solicitations to which they object.
 3         89.    The TCPA’s implementing regulation—47 C.F.R. § 64.1200(c)—
 4   provides that “[n]o person or entity shall initiate any telephone solicitation” to
 5   “[a] residential telephone subscriber who has registered his or her telephone
 6   number on the national do-not-call registry of persons who do not wish to receive
 7   telephone solicitations that is maintained by the federal government.” See 47
 8   C.F.R. § 64.1200(c). Defendants violated 47 C.F.R. § 64.1200(c) by initiating, or
 9   causing to be initiated, telephone solicitations to wireless and residential
10   telephone subscribers such as Plaintiff and the DNC Class members who
11   registered their respective telephone numbers on the National Do Not Call
12   Registry, a listing of persons who do not wish to receive telephone solicitations
13   that is maintained by the federal government. These consumers requested to not
14   receive calls from Defendants, as set forth in 47 C.F.R. § 64.1200(d)(3).
15         90.    47 C.F.R. § 64.1200(e), provides that 47 C.F.R. §§ 64.1200(c) and
16   (d) “are applicable to any person or entity making telephone solicitations or
17   telemarketing calls to wireless telephone numbers to the extent described in the
18   Commission’s Report and Order, CG Docket No. 02-278, FCC 03-153, ‘Rules
19   and Regulations Implementing the Telephone Consumer Protection Act of
20   1991,’” which the Report and Order, in turn, provides as follows:
21
22         The Commission’s rules provide that companies making telephone
           solicitations to residential telephone subscribers must comply with
23         time of day restrictions and must institute procedures for
24         maintaining do-not-call lists. For the reasons described above, we
           conclude that these rules apply to calls made to wireless telephone
25         numbers. We believe that wireless subscribers should be afforded
26         the same protections as wireline subscribers.

27   ///
28   ///
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 1         91.    As a result of Defendants and/or their affiliates, agents, and/or other
 2   persons or entities acting on Defendants’ behalf violations of 47 C.F.R. §
 3   64.1200(c), Plaintiffs and members of the DNC Class are entitled to an award of
 4   $500 in statutory damages for each and every call initiated to them, after
 5   registering their telephone numbers with the National Do-Not-Call Registry,
 6   pursuant to 47 U.S.C. § 227(c)(5)(B).
 7         92.    Plaintiffs and members of the National Do-Not-Call Class are also
 8   entitled to and do seek injunctive relief prohibiting Defendants and/or their
 9   affiliates, agents, and/or other persons or entities acting on Defendants’ behalf
10   from violating 47 C.F.R. § 64.1200(c) by initiating more than one telephone
11   solicitation to any residential telephone subscriber who has registered his or her
12   telephone numbers with the National Do-Not-Call Registry in the future,
13   pursuant to 47 U.S.C. § 227(c)(5)(A).
14                           SECOND CAUSE OF ACTION
15                       INTERNAL DNC CLAIM IN VIOLATION OF
16                   THE TELEPHONE CONSUMER PROTECTION ACT,

17                   47 U.S.C. § 227, ET SEQ. (64 C.F.R. § 64.1200(D))
18                        (By Plaintiffs Against All Defendants)
19         93.    Plaintiffs hereby incorporate by reference and re-allege each and
20   every allegation set forth in each and every preceding paragraph of this
21   Complaint, as though fully set forth herein.
22         94.    47 C.F.R. § 64.1200(d) further provides that “[n]o person or entity
23   shall initiate any call for telemarketing purposes to a residential telephone
24   subscriber unless such person or entity has instituted procedures for maintaining
25   a list of persons who request not to receive telemarketing calls made by or on
26   behalf of that person or entity. The procedures instituted must meet the following
27   minimum standards:
28   ///
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 1       (1) Written policy. Persons or entitles making calls for
         telemarketing purposes must have a written policy, available upon
 2       demand, for maintaining a do-not-call list.
 3
         (2) Training of personnel engaged in telemarketing. Personnel
 4       engaged in any aspect of telemarketing must be informed and
 5       trained in the existence and use of the do-not-call list.

 6       (3) Recording, disclosure of do-not-call requests. If a person or
 7       entity making a call for telemarketing purposes (or on whose behalf
         such a call is made) receives a request from a residential telephone
 8       subscriber not to receive calls from that person or entity, the person
 9       or entity must record the request and place the subscriber’s name, if
         provided, and telephone number on the do-not-call list at the time
10       the request is made. Persons or entities making calls for
11       telemarketing purposes (or on whose behalf such calls are made)
         must honor a residential subscriber’s do-not-call request within a
12       reasonable time from the date such request is made. This period may
13       not exceed thirty days from the date of such request…

14       (4) Identification of sellers and telemarketers. A person or entity
15       making a call for telemarketing purposes must provide the called
         party with the name of the individual caller, the name of the person
16       or entity on whose behalf the call is being made, and a telephone
17       number or address at which the person or entity may be contacted.
         The telephone number provided may not be a 900 number or any
18       other number for which charges exceed local or long distance
19       transmission charges.

20       (5) Affiliated persons or entities. In the absence of a specific request
21       by the subscriber to the contrary, a residential subscriber’s do-not-
         call request shall apply to the particular business entity making the
22       call (or on whose behalf a call is made), and will not apply to
23       affiliated entities unless the consumer reasonably would expect
         them to be included given the identification of the caller and the
24       product being advertised.
25
        (6) Maintenance of do-not-call lists. A person or entity making calls
26      for telemarketing purposes must maintain a record of a consumer’s
27      request not to receive further telemarketing calls. A do-not-call
        request must be honored for 5 years from the time the request is
28      made.
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 1         95.    Defendants made more than one unsolicited telephone call to
 2   Plaintiffs and members of the Internal DNC Class within a 12-month period.
 3   Plaintiffs and members of the DNC Class never provided any form of consent to
 4   receive telephone calls from Defendants do not have a record of consent to place
 5   telemarketing calls to them and/or Plaintiffs and members of the DNC Class
 6   revoked consent.
 7         96.    Defendants violated 47 C.F.R. § 64.1200(d) by initiating calls for
 8   telemarketing purposes to residential and wireless telephone subscribers, such as
 9   Plaintiffs and the Class, without instituting procedures that comply with the
10   regulatory minimum standards for maintaining a list of persons who request not
11   to receive telemarketing calls from them.
12         97.    Defendants violated 47 U.S.C. § 227(c)(5) because Plaintiffs and the
13   Internal DNC Class received more than one telephone call in a 12-month period
14   made by or on behalf of Defendant in violation of 47 C.F.R. § 64.1200, as
15   described above. As a result of Defendants’ conduct as alleged herein, Plaintiffs
16   and the DNC Class and the Class suffered actual damages and, under section 47
17   U.S.C. § 227(c), are each entitled, inter alia, to receive up to $500 in damages
18   for such violations of 47 C.F.R. § 64.1200.
19         98.    To the extent Defendants’ misconduct is determined to be willful
20   and knowing, the Court should, pursuant to 47 U.S.C. § 227(c)(5), treble the
21   amount of statutory damages recoverable by the members of the Class.
22         99.    Plaintiffs are also entitled to and seek injunctive relief prohibiting
23   such conduct in the future.
24   ///
25   ///
26   ///
27   ///
28   ///
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 1                              PRAYER FOR RELIEF
 2         WHEREFORE, Plaintiffs, individually and on behalf of the Classes, prays
 3   for relief and judgment as follows:
 4         (a)   An order certifying the Classes as defined above, appointing
 5               Plaintiffs as the representative of the Classes, and appointing their
 6               counsel, KRISTENSEN WEISBERG, LLP & HUGHES ELLZEY, LLP as
 7               lead Class Counsel;
 8         (b)   An award of actual and statutory damages for each and every
 9               negligent violation to each member of the Class pursuant to 47
10               U.S.C. § 227(b)(3)(B);
11         (c)   An award of actual and statutory damages for each and every
12               knowing and/or willful violation to each member of the Class
13               pursuant to 47 U.S.C § 227(b)(3)(B);
14         (d)   An injunction requiring Defendants and Defendants’ agents to cease
15               all unsolicited telephone calling activities, and otherwise protecting
16               the interests of the Class, pursuant to 47 U.S.C. § 227(b)(3)(A);
17         (e)   Pre-judgment and post-judgment interest on monetary relief;
18         (f)   An award of reasonable attorneys’ fees and court costs; and
19         (g)   All other and further relief as the Court deems necessary, just, and
20               proper.
21   Dated: January 25, 2019               Respectfully submitted,
22
                                    By: /s/ John P. Kristensen
23
24                                         John P. Kristensen (SBN 224132)
                                           john@kristensenlaw.com
25                                         KRISTENSEN WEISBERG, LLP
26                                         12540 Beatrice Street, Suite 200
                                           Los Angeles, California 90066
27                                         Telephone: (310) 507-7924
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28
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 1                           DEMAND FOR JURY TRIAL
 2         Plaintiffs hereby demand a trial by jury for all issues that may be decided
 3   by jury.
 4
 5   Dated: January 25, 2019              Respectfully submitted,

 6                                  By: /s/ John P. Kristensen
 7
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